                   Case 3:19-cv-00193-PDW-ARS Document 3 Filed 09/25/19 Page 1 of 3


                     Case 3:16-md-02741-VC Document 6103 Filed 09/25/19 Page 1 of 3




                                                   UNITED STATES JUDICIAL PANEL
                                                                on
                                                    MULTIDISTRICT LITIGATION



            IN RE: ROUNDUP PRODUCTS LIABILITY
            LITIGATION                                                                               MDL No. 2741



                                                       (SEE ATTACHED SCHEDULE)



                                              CONDITIONAL TRANSFER ORDER (CTO −153)



            On October 3, 2016, the Panel transferred 19 civil action(s) to the United States District Court for
            the Northern District of California for coordinated or consolidated pretrial proceedings pursuant to
            28 U.S.C. § 1407. See 214 F.Supp.3d 1346 (J.P.M.L. 2016). Since that time, 1,645 additional
            action(s) have been transferred to the Northern District of California. With the consent of that court,
            all such actions have been assigned to the Honorable Vince Chhabria.

            It appears that the action(s) on this conditional transfer order involve questions of fact that are
            common to the actions previously transferred to the Northern District of California and assigned to
            Judge Chhabria.

            Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
            Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
            Northern District of California for the reasons stated in the order of October 3, 2016, and, with the
            consent of that court, assigned to the Honorable Vince Chhabria.

            This order does not become effective until it is filed in the Office of the Clerk of the United States
            District Court for the Northern District of California. The transmittal of this order to said Clerk shall
            be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
            Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                                    FOR THE PANEL:


      I hereby certify that the annexed
    instrument is a true and correct copy     Sep 25, 2019
      of the original on file in my office.                         John W. Nichols
                                                                    Clerk of the Panel
ATTEST:
SUSAN Y. SOONG
Clerk, U.S. District Court
Northern District of California


    by:
               Deputy Clerk
    Date:   September 25, 2019
   Case 3:19-cv-00193-PDW-ARS Document 3 Filed 09/25/19 Page 2 of 3


    Case 3:16-md-02741-VC Document 6103 Filed 09/25/19 Page 2 of 3




IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                MDL No. 2741



                   SCHEDULE CTO−153 − TAG−ALONG ACTIONS



 DIST       DIV.      C.A.NO.    CASE CAPTION


COLORADO

  CO         1       19−02356    Bishelli v. Monsanto Company

DISTRICT OF COLUMBIA

  DC         1       19−02498    SCOTT et al v. MONSANTO COMPANY

ILLINOIS NORTHERN

  ILN        1       19−06040    Rawson v. Bayer Corporation et al   Opposed 9/17/19

IOWA SOUTHERN

  IAS        1       19−00022    Carlson v. Monsanto Company

MARYLAND

  MD         1       19−02229    McAllister v. Monsanto Company
  MD         1       19−02496    Kennedy et al v. Monsanto Company

MINNESOTA

  MN         0       19−02515    Schmidt, Jr. v. Monsanto Company
  MN         0       19−02516    Henry, Jr. v. Monsanto Company
  MN         0       19−02518    O'Neill v. Monsanto Company

MISSOURI EASTERN

 MOE         4       19−02483    Avery et al v. Monsanto Company

NORTH DAKOTA

  ND         3       19−00191    Ista et al v. Monsanto Company
  ND         3       19−00192    Oster et al v. Monsanto Company
  ND         3       19−00193    Vandrovec et al v. Monsanto Company
  Case 3:19-cv-00193-PDW-ARS Document 3 Filed 09/25/19 Page 3 of 3


   Case 3:16-md-02741-VC Document 6103 Filed 09/25/19 Page 3 of 3

OHIO SOUTHERN

  OHS      2      19−03744      Moore et al v. Monsanto Company

PENNSYLVANIA MIDDLE

 PAM       1      19−01238      Troutman et al v. Monsanto Company
